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                             FOR THE DISTRICT OF NEW JERESY


 UNITED STATES OF AMERICA, :                  CriniinalNo: 2:1Ocr-OO633-SRC

                Plaintiff,
        V.


 ZBIGNIEW CICHY,                              ORDER

                Defendant,




        THIS MATTER having been opened to the Court by Howard B. Brownstein, Attorney for
 Zbigniew Cichy asking for an Order amending the defendant’s bail status by allowing Mr.
                                                                                           Cichy to
 have travel restricted to New Jersey or as approved by United States Pretrial Servic
                                                                                     es, Matthew
 Beck, AUSA and Dan Mime of United States Pretrial Services having no objection and
                                                                                           for good
 cause shown;
        ITISonthisjdayof,                                 ,2011
        ORDERED that Mr. Cichy have travel restricted to New Jersey or as approved by United
States Pretrial Services; and it is further
        ORDERED all other conditions of bail will remain the same.
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